Case 8:15-cV-02068-.]VS-DF|\/| Document 1-1 Filed 12/11/15 Page 1 of 13 Page |D #:3

  EXhibit A

 

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ELECTRON|CALLY FlLED

Todd lvl. Fn'edrnan (216752) ‘ Superiu`r Court of calif'omia,
Law offices of road M. Faedman, 1>.<:. C°""fv °* °'="Q*~'

324 S_ Beverly Dr_ #725 ‘ ' . 091‘21!2015 at C|B:OD:,DD PM
Bever]y Hills, CA 90212 ' _ Clerk of the Supericr Bourt

Phone: 877-206-4741 BY mta Stmm.U€PUi's' C|€rk

Fax: 866-633-0228
tfriedman@attomeysforconsumers.com

-Attomey for Plainti.ff

SUP'ERIOR COURT OF THE STATE OF CA.LIFOR.NIA
FOR THE COUNTY GF ORA.NGE
LIMITED JURISDICTION

CASE NO.: 30-2015-00810554-CL-NF-CJC

)

JOHN CARTER WILLIAMS, )
) COMPLAJNT

Plaintil°f. )

) 1. Violatlon of Rosenthal Fair Debt

-vs- ) Collection Practices Aot
) 2. Violation of the federal Fair Debt
) Collecti on Practlccs Act
) 3. Violation of Fair Credit Reporting
) Act
) 4. Violation of California Consumer
) Credit Reporting Agencies Act

ENHANCED RECOVERY COMPANY, LLC,

Defendant.

 

(Amount Not to Exceed $10,000)

I. INTRODUCTION

1. This,is an action for damages brought by an individual consumer for Defendant’s
violations of the Rosenthal Pair Debt Collection Practices Act, Ca] Civ Code §1788, et seq.
(hereirlafter “RFDCPA”) and the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692,
et seq., both of which prohibit debt collectors from engaging in abusive, deceptive, and unfair
practices; and for Defendant’s violations of the Fair Cred.it R.eporting Act, 15 U.S.C. §1681
(hercinafter “FCRA“), which regulates the collection, dissemination, and use of consumer

infonnation, including consumer credit information

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II. PARTIES

2. Plaintiff, Joh,n Carter Williarns (“Plaintift”), is a natural person residing in
Orange County in the statel of Calii`ornia, and is a “debtor" as defined by Cal Civ Code
§l788.2(h). Plaintiff is a “consumer" as defined by 15 U.S.C. §1681a.

3. At all relevant times herein, Defendant, En,hanced Recovery Company, LLC
("Defendant”), was a company engaged, by use of the mails and telephone, in the business ot
collecting a debt from Plaintiff which qualities as a “consumer debt,” as defined by Cal Ci\
Code §1788.2($. Defendant regularly attempts to collect debts alleged to be due them, and
therefore is a “debt eollector” as defined by the R.FDCPA, Cal Civ Code §1788.2(0). Further,
Defendant regularly provides information to consumer reporting agencies and is therefore an
“ini`orrnation furnisher” as defined by the FCRA.

III. FACTUAL ALLEGATIONS

4. ' At various and multiple times prior to the filing of the instant complaint, including
Within the one year preceding the filing of this complaint, Defendant reported derogatory
information on Plaintift’ s credit report. Defendant alleges that Plaintifc` still owes a past due
balance. However, Plaintiff has never had a cell phone number with the area code 949.

5. On or about December 2, 2014, Defendant called Plaintiff regarding an alleged
outstanding debt on an account opened in 2008. Plaintiff to the best of his knowledge has never
had a cell phone number with the area code 949. Also, the address on Plaintiff’s alleged account
is not accurate, as he did not reside there in 2008.

6. Plaintiff informed Defendant both that the debt tvas disputed and that the debt did
not belong to him. Despite being put on notice of Plaintifi’s dispute, Defendant still reported
derogatory information on Plaintift’s credit report. Defendant did not correct the error.

7. As a result ofDei`endant’s actions, Plaintift` has been refused a debt consolidation

loan and a_ credit card. Plaintiff’s credit has been damaged because Dei`endant has not taken the

 

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Case 8:15-cV-02068-.]VS-DF|\/| Document 1-1 Filed 12/11/15 Paie 4 of 13 Paie |D #:6

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debt off of his credit report. Plaintiff did not have any derogatory marks on his credit report prior

to this one.
8. Defendant directly contacted Plaintiff alter notice of Plaintiff retaining eounsel.
Defendant did not first come to Plaintist counsel for permission

9. Defendant also failed to provide Plaintiff with a writing regarding validation or

verification of the debt.

10. On February 5, 2015, Plaintifi’s counsel sent a notice cf representation to

Dei`endant. De-fendant has responded to said notice

ll. Defendant’s conduct violated the RFDCPA and IFDCPA in multiple Ways,

including but not limited to:

a) Falsely representing the character, amount, or legal status of
Plaintiff’s debt (§ l 692e(2)(A));

b) Using unfair or unconscionable means against Plaintiff in
connection with an attempt to collect a debt (§ l692i));

c) Collecting an amount from Plaintift` that is not expressly
authorized by the agreement creating the debt (§ 1692f(l));

d) Collecting an amount from Plaintiff that is not permitted by law (§
l692f(l));

e) Cornmunicating or threatening to communicate credit information
which is known or which should be known to be false (§1692e(8));

' ij Using false representations and deceptive practices in connection
with collection of an alleged debt from Plaintifi` (§ l692e(10));

g) Failing to provide Plaintiff with the notices required by 15 USC § 16923, either in
the initial communication with Plaintiff, or in writing within 5 days thereof (§
1692g(a));

h) Where Defendant had not yet made an attempt to contact Plaintiff’s counsel or
had not given Plaintist counsel sufficient time to respond to the initial attempt to
communicate with Plaintiff’s counsel, and where Plaintii’f’s counsel had not given
Defendant permission to contact Plaintift` directly, communicating with Plaintiff
directly after learning that Plai,ntiff is being represented by counsel (§
l692c(a)(2).

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v

12.

Further, Defendant has been providing derogatory and inaccurate statements and
3 information relating to Plaintiff and Plaintifi’s credit history to various credit reporting agencies,
4 as that term is deiined by l$ U.S.C. l681a(f).

13. Defendant is aware that the credit reporting agencies to which they are providing

6

this information are going to disseminate this information to various other persons or parties who
7
8 will be reviewing this information for the purpose oi` extending credit, insurance or employment
9 14. As a result ofDei`endant’s inaccurate reporting of Plaintifi’s accounts, Plaintiff’s

l° credit score decreased Plaintiff was denied an auto loan due to the derogatory items placed by

Defendant on PlaintifPs credit report

l$. 'l`he inaccurate information negatively reflects upon the Plaintiff, Plaintift’s credit
14 repayment history, Plaintiff’s financial responsibility as a debtor and Plaintift’s credit

15 worthiness.

16 16. 'l'he credit reports have been and continue to be disseminated to various persons
17
and credit grantors, both known and unknown
18
19 17. Plaintiff has been damaged, and continues to be damaged, in the

20 following \vays:

a. Denial of credit by at least one lender;
b. Emotional distress and mental anguish associated with having incorrect

derogatory personal information transmitted about Plaintiff to other people
93 both known and unknown; and
c. Decreased credit score which may result in inability to obtain credit on future
24 attempts

,,.
`> 18. At all times pertinent hereto, Defendant was acting by and through its agents_.
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servants and!or employees who were acting Within the course and scope of their agency or
21 .
vs employment, and under the direct supervision and control of Defendant herein.

 

 

 

 

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1 19. At all times pertinent hercto, the conduct of Defendant, as well as that of its

agents, servants and/or employees, Was malicious, intentional, willful, reckless, and in grossly

3
negligent disregard for federal and state laws and the rights of Plaintiffs herein.
4
5 20. Defendant violated sections l681n and lGSlo of the FCR.A by engaging in the

6 following conduct that violates 15 U.S.C. §loSls-Z(b):

7 a. Willfully and negligently continuing to furnish and disseminate inaccurate and
s derogatory credit, account and other information concerning the Plaintiff to
credit reporting agencies and other entities despite knowing that said
9 information was inaccurate; and,
b. Willfully and negligently failing to comply with the requirements imposed on
‘.° ftunishers of information pursuant to 15 U.S.C. §168 ls-2.
tx
21. Det`endant’s conduct was a direct and proximate cause, as well as a substantial
12
13 factor, in causing the injuries, damages and harm to Plaintiff that are outlined more fully above,

14 and as a result, Defendant is liable to compensate Plaintiff for the full amount of statutory,

15 actual and punitive damages, along with attorneys’ fees and costs, as well as such other relief

permitted by law.
l7
22. Further, Defendant failed to notify Plaintiff of their intention to report negative
is
19 information on their credit reports Defendant then failed to correct the disputed information

20 within thirty days ofPlaintiff’s dispute of that information
ll 23. As a result of the above violations of the RFDCPA, FDCFA and FCRA, Plaintiff

suffered and continues to suffer injury to Plaintiff's feelings, personal humiliation,

23
embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff for
24
75 Plaintifl’s actual damages, statutory damages, and costs and attorney’s fees.
26 COUNT I: VIOLA'I`ION OF ROSENTHAL

FAIR DEBT COLLECTION PRACTICES ACT

24. Plaintift` reincorporates by reference all of the preceding paragraphs

 

 

 

 

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1 25.' 'I`o the extent that Defendant’s actions, counted above, violated the RFDCPA,
those actions were done knowingly and willfully
PRAYER FOR RELIEF
WHEREFOR.E, Plaintiff respectfully prays that judgment be entered against the

5 Defendant for the following:

8 A. Actua.l damages;
B. Statutory damages for willful and negligent violations;
9 C. Costs and reasonable attorney’s fees; and
m D. For such other and further relief as may be just and proper.

COUNT II: VIOLATION OF FEDERA_L
ll FAIR DEBT COLLECTION PRACTICES ACT

___________________.._.___.____-_-_----~_--_'

' 26. Plaintiff reincorporates by reference all of the preceding paragraphs

27.' 'l'o the extent that Defendant’s actions, counted above, violated the FDCPA, those

actions were done knowingly and willfully
16 PRAYER FOR RELIEF

17 WHEREFOR.E, Plainti&` respectfully prays that judgment be entered against the

13 Defendant for the following:

l9

 

20 A. Actual damages;
21 B. Statutory damages for willful and negligent violations;
C. Costs and reasonable attorney’s fees; and
22 D. For such other and further relief as may bejust and proper.
23
24 COUNT III: VIOLATION OF THE FA.IR CR.EDIT REPORTING ACT
25 28. Plainti£freincorporates by reference all of the preceding paragraphs
25 29.' 'l`o the extent that Defendant’s actions, counted above, violated the FCRA, those

27 actions were done knowingly and willfully

28 PRAYER FOR RBLIEF

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"' v .:.“.'r ; . .~
4a ' _

WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Dcfendant for the following:

A. Actual damages;

B. Statutory damages for willful and negligent violations;

C. Costs and reasonable attorney’s fees; and,

D. For such other and further relief as may be just and proper.

COUNT lV: VIOLATION OF THE CALIFORNIA CONSUMER CREDIT
REPORTING AGENCIES ACT

 

30. PlaintiH incorporates by reference all of the proceeding paragraphs

31. California Civil Code § 1785 .25 (a) states that a "pcrson shall not furnish
information on a specific transaction or experience to any consumer credit reporting agency if
the person knows or should know the information is incomplete or inaccurate."

32. California Civil Code § 1785.25 (b) states that a furnisher that determines a report
to a credit reporting agency is not accurate or complete shall promptly notify the consumer
reporting agency of that determination and provide corrections to the consumer reporting agency
that is necessary to make the information complete and accurate.

33. California Civil Code § l785.25 (c) provides that if the completeness or accuracy
of any information on a specific transaction or experience provided to a consumer reporting
agency is disputed by the consumer, the furnisher may not continue reporting the information
unless it provides a notice to the consumer reporting agency that the information is disputed by
the consumer.

34. Defendant negligently and willfully furnished information to the credit reporting
agencies it knew or should have known was inaccurate

35. Based on these violations of Civil Code § 1785.25 (a), Plaintiff is entitled to the
remedies afforded by Civil Code § 1785.31, including actual damages, attorney's fees, pain and

suffering, injunctive relief, and punitive damages in an amount not less than $l 00 nor more than

$5,000, for each violation as the Court deems proper.

 

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l PRAYER FOR RELIEF
2 WHEREFORE, Plaintit`f respectfully requests that judgment be entered against
3 Defendant for the following:
4 (a) Actual darnages;
5 (b) Statutory damages;
6 (c) Costs and reasonable attorney’s fees;
7 (d) For such other and further relief as the Coutt may deem just and pro .
8 PLAINTLFF BER.EBY REQUESTS A T B ’ RY
9 Respectfully submitted this 18"‘ day of S te be
10 By: _______-_______
11 Todd M. Friedman, Esq.
w . Law Offices of 'I_`odd M. Friedman, P.C.
' Attorney for Platntiff
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C.ase 8:15-cv-02068-.]VS-DFl\/| Document 1-1 Filed 12/11/15 Page 10 of 13 Page |D #:12
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Be\.er']), Hms, CA"gQg)z SUFEH`DI' Col-lrf of Callfom`la,
teLePlloNENo.: 877_-2§)6-4741 _ §Axuo: 866-633~0228 county of orange
Arroa~ev FoFl mamal: Pia\mlff, JOhY;vC:ng W‘lhams 09»'21'»'2015 at DB:DD:DD J!M
suPER!oR couRroF cAl.lFoRNlA,couN o range mem of the Su .
_ . ,. penor Court
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clwl\~ozll' cove Santa Ana, Qa 92701
___§_RANcM NANE; CGm.Tal I\.lSthC C€l’lf€l'

 

 

 

 

CASE NAME:
John Carter Williams v. Enhanced Recovcry Company, LLC
CIV“- CASE COVER SHEET Complex Case Designation UEN;;B;EW 00810554_CL
g Unnmlted Um‘ted i::] Counter i::i Joinder _ . 'NF'CJC
(Amount (Amount moses
demanded demanded ls Flled with hrst appearance by defendant
exceeds $25,000) 525,000 or less) (Cal. Rules of Court. rule 3.402) oaar:

 

 

ltems 1-6 be ow must be completed (see instructions on page 2).
t. Cheok one box below forthe case type that best describes this case:

 

 

 

Au¢° -r°n Contract Provlslonally Complex Clvil thigstlon
Auto (22) gmach 01 connect/warranty (05) (Cal. Rules of Court. rules 3.400-3.403)
uninsured mclean (46) [:l ante 3.740 collections 109) l:l Amamslmade regulation local
other P|lPD/wn (?ersonal lnlurylProperty i__._i Other collections (09) ij Gonslructlon defect (10)
oamagelwl'°hgful oea\h) T°lt m lnsurance caveng (18) m Mass fort (40)
Asbestos (04) [:] other conform (37) i:] Securltles litigation (28)
i::i Pr°du€f llablllfy ('Ll‘l) neal Property i___:] Environmentalfl'oxlc ton (30)
Modlcrol malpractice (45) § Emlnent domain/lnverse [:i |nsucance coverage o|alms arisan from the
[:] other Pl/Po/wo (23) condemnation 114) above llsted provlslonally complex case
llon~puPo/wo torhm ron |:i W'°"Sf“' B"l°“°" l33) types ('")
Business tod/unfair business practice (07) i::] Other real property (26) Enforcemcnt of Judgment
Civil rights (08) Unlawful Detalner i:.:i Enlorcement of judgment (20)
oenmatlon (13) i:i C°mmerclal l31l Mlseallanaous civll compwlnc
Fraua (16) [::i Resld€nflal l32) m Rlco 1271
intellectual property (19) m DNGS (38) i::l Olher complalnt (not specified above) (42)
- Professlonal negligence l25) ~’°‘"°*°' R°"‘°W Mlseellaneous clvll Pemion
other "°n'i’"PD'WD t°“l35) [::[ Ass_°t '°'f°¥w'e_ (o`r{) [:] Partnership and corporate governance (21)
Em°'°ym°“t _ E:] pa”u°" m am'uat‘°" award (11) l::] Other petition (not specified above) (43)
Wrcngful termination (36) [:] erl of mandate (02)
i___] Other employment (15) i:] Other iudlcial revlaw (39)

 

2. This case § ls l_£_] ls not complex under rule 3.400 of the Califomla Rules ol Court. ll the case ls complex, mark the
factors requiring exceptional judicial management
a. [:l t.arge number of separately represented parties d. l::] Large number of witnesses
b. m Extenslve mellon practlce ralsan difficult or novel e. g Coordination with related actions pending in one or more courts
issues that will be tlme~consumlng to resolve ln other counties, states, cr countries, or in a federal court
c. [:] Substantial amount cf documentary evidence f. [:] Substantlal postjudgment judicial supervision

Rernedles sought (check all that apply): a.l;[__l monetary b.[:l nonmonetary; declaratory crinjunctive relief c. L__:l punitive
Number of causes election (speclfy).' 4

Thls case ij ls ls not a class action suit

ll there are any known related cases, tile and serve a notlce of related case, (You may use form

Date: September lS, 2015
'I`cdd l\'l. Friedman )
mpa on ram mel lslcNA use ol-' raer ~ - Artomlsv rca sham
NOTICE
» Plaintift must flle this cover sheet with the first paper filed in the action or proceedan (exoept small claims mses or cases hled
under the Probate Code, Famlly Code, or Wellare and lnstitullons Code). (Ca|. Rules of Court, rule 3.220.) Fallure to tile may result

in sanctions.
~ Flle this cover sheet in addition to any cover sheet required by local court rule.
~ lf thls case ls complex under rule 3.400 et seq. of the Ca|ifomia Rules of Court, you must serve a copy ot this cover sheet on all
other parties to the action or proceeding.
~ Unless this ls a collections dose under rule 3.740 or a complex dose, this cover sheet will be used for statistical purposes only; n o

   
   
  

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Fom\ hoc led lof monetary Uso C\l. Rulas cl Court. rules 2.30, 1220 S.lllt>~'.l.do!. 3.740;
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lNSTRUCTlONS ON HOW TO COMPLETE THE COVER SHEET
To Plalntiffs and Others Filing Flrst Fapers. if you are filing a first paper (for example, a compiaint) in a civil cose, you must

complete and file, along with your iirst paper,
statistics about the types and numbers of m
one box for the case type that best describes the

the

Civil Case Cover Sheet contained on page ‘i. This information will be used to compile
ses filed. You must complete items 1 through 6 on the sheet. in item 1, you must check
case. lf the case fits both a general and a more specific type of case listed in item t,

check the more specinc one. lf the case has multiple causes of action. check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover

sheet must be filed only with your initial pape
lis oounsel, or both to sanctions under rules 2.
To parties in Rule 3.740 Col|ections Cases. A
owed in a sum stated to be certain that is not more
which property, services, or money was acquired on cr
damages (2) punitive damages (3) recovery of real property.

l’.

Fallure to nle a cover sheet with the first paper nled in a civll case may subject a party,
30 and 3.220 of the Californla Rules of Court.

"collections case" under rule 3.740 is defined as an action for recovery of money
than $25.000. exclusive of interest and attorney's fees, arising from a transaction in
edlt. A collections case does not include an action seeking the following: (1) tort
(4) recovery of personal property, or (5) a prejudgment writ of

attachment The identification of a case as a rule 3.740 collections case on this form means that lt will be exempt from the general
time-for-service requirements and case management rulesl unless a defendant files a responsive pleading. A rule 3.740 collections

case will be subject to the requirements for servl
To Parties ln Compiex Cases. ln complex cases on|y, parties must also use the Civil Ca
case is complex. if a plaintiff believes the case is complex under rule 3.400 of the Californla
completing the appropriate boxes in items l and 2. if a plaintiff designates a
complaint on all parties to the action.
plaintiffs designation. a counter-designs

the case is complex.

Auto Tort

Auto (22)~Personal lniury/Property
Damage/Wl’ongful Deaih

Uninsured Motodst (46) (lf lite
case involves an uninsured
motorist claim subject lo
arbitration check this item
instead ofAuto)

Other PllP DlWD (Peroonal |njuryl
Propany Damagelwrongfui Death)
Tort

Asbestos (04)

Asbestos Property Damage
Asbestos Personal lnlury/
Wrongful Oeath

Product Liabllity (nol asbestos or
toxic/envlronmental) (24)

Medlwl Malpractice (45)

Medlcal Malpractice-
Physlclans & Sumeons
Olher Professlonal l-lealth Care
Malpractice
Olher PlIPD/WD (23)
Premlses t.iablllty (e.g., slip
. and tall)
intentional Bodlly ln]ury/PD/WD
(e.g., assaull, vandalism)
intentional infliction of
Emotional Dlstress
Negllnent infliction of
Emotional Dlstress
Other Pl/PD/WD
Non-PlIPDfWD (Other) Tort
Business TortlUnfalr Business
Practlce (07) `

Cile nghts (e.g., discrimination.
false arrest) (nol civil
harassmen!) (08)

Defamation (e.g.l slander. libel)

ti 3)

Fraud (15)

intellectual Property (19)

Professlonal Negllgence (25)
Legal Malpractlce
Oiher Professional Malptactlce

{not medical orlegel)

Other Non-PllPD/WD Tort (35)

Employment
Wrongful `t'ermlnatlon (36)
Other Employmant (15)

CM~C\D [an. .iuly t. 2007)

A defendant may file and serve no
lion that the ease is not complex, or.

CASE TVFES AND EXAMPLES
Co ntract
Breach of Contrect/Watranty (06)
Breach oi Rentalll.ease
Contract (nof unlawful detainer
or wrongful eviction)
Coritract/Warranty Breacl'l-Seller
Plalniiff (not fraud or negligence)
Negllgent Breach of Gontlact/
Warranty
Olher Breach of Contract/Warranty
Collections (e.g.. money owed. open
book accounts) (09)
Collectlon Case-Selier F|alntlfl
Other Prornissory NotelCollectlons

Case
insurance Coverage {nol provisionally
complex) (18)
Auto Subrogation
Other Coverage

Oiher Contract (37)
Contractual Fraud
Othor Contract Dispute

Real P rope rty

Emlnent Domalnilnverse
Condemnation (14)

Wrongful Evlctlon (33)

Other Rea| Property (e.g., quiet title] (26)
Writ of Possesslon of Real Property
Nlortgage Foreciosure
Qulet Tltle
Other Real Froperty (nol eminent
domaln, landlord/tenant or
fare closura}

Unlawfui Detainer

Commerclal (31)

Resldential (32)

Drugs (38) (l'flhe case involves fllegal
drugs, check lhls ilem,' ofherwise,
report as Gommercial or Resldonlial)

Judlcial Revlew

Asset Forfeiture (05)

Peiltlon Re: Arbilratlon Award (11)

Writ cl Mandate (02)
Wrii-Admlrllstrative Mandamus
Writ-Mandamus on Limlted Court

Case Matter
ert-Otl'ter leited Court Ceso
Review

Otlter .iudlcial Revlew (39)

Revlew of Health Oftlcer Order
Notlce of Appeal-Labor
Commissloner Appeals

ClVlL CASE COVER SHEET

ce and obtaining a judgment in rule 3.740.

se Cover Sheet to designate whether the

Rules of Court. this must be indicated by

case as complex, the cover sheet must be served with the
later than the time of its first appearance a joinder in the
if the plaintiff has made no designation. a designation that

Frovlslonally Complex Civil Litigatlon (Cal.
Rules ofCourt Ru|es 3.400-3.¢03)
Anlltrustf’l’rade Regulatlon (03)
' Constniclion Defect (‘l 0)
Clalms involving Mass Tort (40)
Securities thlgation (28)
Environmentalfl'oxlc Tort (30)
insurance Coverage Clalms
(an`sfng from provisionally complex
case type listed above) (41)
Enforcement of Judgment
Eniorcement of Jl.ldgment (20)
Absiract of Judgment (Out cf
County)
Confesslon of Judgment (non-
domestic reledons)
Slster Stele Judgment
Admlnistratlve Agency Awerd
(not unpaid taxes}
PetitlonlCertlfmtion of Entry of
.ludgment on Unpald Taxes
Oihecr:BEsnelorcement of Judgment

Miscellaneous Civil Complalnt
R|CO (27)
Other Complaint (not specified
above) (42)
Declaratoty Rellef Only
injunctive Rellef Only lnon-
harassment)
Mechanics Lien
Other Comrnercial Complalnt
Case (rlon»tort/non-compiex)
Other Civil Complalnl
(ncn-rort/non'oompfex)
Mlscellaneous Civil Petitlon
Partnership and Corporate
Govemance (21)
Other petition (not specified
above) (43)
Civil Harassment
Wori<place Vlolenca
ElderfDependent Adult
Abuse
Electlon Contest
Pelition for Name Change
Petitlon for Relief me Leie

Clalm
Other Civil Pelltion

Poga lutz

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EXhibn-B  

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SUM-‘l 00
SUMMQNS mncounruseomv
(ClTAClON JUDIC'AL) (SELOPARAUSODELACORTE]
Nonce To DEFENDANT: ELECTRONICALL'V' FlLED
(AVI$O AL DEMANDADO): Superéor Gourt of Calitomia.
Enhanced Recovcry Company, LLC , umw of orange
09!2'"2015 at DB:UD:DD Ntrl
' Olerk ofthe Superior Gourt
YOU ARE BElNG SUED BY PLA|NT[FF: . v
(r.o ssr/t DEMANDA/voo EL DEMANDANTE).~ ay R't"‘ St"°'"'nep"ty c'e'k
John Cartcr Williams

 

 

N(?TlCEl You have been sued. The court may decide agalnst you without your being heard unless you respond within 30 days. Read the lntormatlon
be ow.

¥ou have 30 CALENDAR DAYS after thls summons and legal papers are served on you to tile a written response at this court and have a copy
served on the plaintiff. A letter or phone call wm not protect you. Your written response must be in proper legal form lfyou want the court to hear your
case. There may be a court form that you con use for your response You can find these court forms and more information at the Californla Courts
On|ine Self-Help Center (www.courdnlo.ca.gov/sellhelp), your county law llbrary, ortho courthouse nearest you. lf you cannot pay the tilan fee, ask
the court clerk for a fee waiver torrn. ll you do not ila your response on time, you may lose the case by detault. and your wages, money, and property
may be taken without further warning from the court _

There are otherlegal requlrements. ¥ou may want to call an attorney right away. lt you do not know an attomey, you may want to call an attorney
referral sarvice. lt you cannot afford an attorney, you may be ellgib|e for free legal servlces from a nonprotit legal services program. You can locate
these nonpront groups at the Californla Legal Servlces Web slte (wwvv.lawhelpoalifomla.org), the Cat‘rfornla Courts Online Sett-Help Center
(www.courtinfo.ca.gov/.selmelp), or by contacting your local court or county bar associatlon. NOTE: The court has a statutory llen for waived tees and
costs on any settlement or arbitration award of $10.000 or more ln a civll case. Tha court‘s lien must be pald before the court will dismiss the caso.
rAVlSOl l;o hon demandado. Sl no responds denim de 30 dlas, la oorte puede decldir en su contra sin escuchar su versién. Lea la lnfcrmeclén a
oontlnuac 6n.

Tiene 30 D/AS DE CALENDAR!O después de que le entreguan esla citaolon ypapeles legales para presentar una respuesta par escrito en esta
co/ta yhacer que se enlregue una oopla al demandanre. Una carta o una llamada tole{dn/oa no lo prolegea. Su respuesta por osc/ito liens que ester
en formato legal correcto sl desea que plocesen su caso en la oorte. Es poslble que haya un formula/ia que voted pueda usarpara su respuasta.
Puedo enconlrar estos formularr'os dela corte y mas lnformacr’on an el Centro da Ayuda de las Cortes de Califomla (www.sucorte.co.gov), en la
blblloleca de leyas de su oondado o en la cone que le quode mas cerca. SI no puede pagarla cuola de presaniac!dn, plda al secretario de la cone
quo le dé un lonnulan`o de exencidn de page de cuotas. Sl no pressnta su mspuasta a llempo, puade perder el paso parincumpl/'miento y la aorte le
podré quitar su sueldo, dlnaro y blenes sin mas adverterrola.

Hay olros requisites legales. Es recomendable que lleme a un abogado inmedlatamante. Sl no conoco a un abogado, puede l/amara un se/vlclo do
remislon a abogados. Si no puede pager a un abogado, es poslble qua cumpla con los requlsltos para obtarrer scrvlc!os legales gratuitos de un
P/Ugrama de serviclos legales sin fines de luoro. Puede encontrar estes grupoa sin lines de lucro en el silio web de Calr'fomla l.egal Servlcas,
(www,lawhelpcalltornia.org), an al Centro de Ayuda da las Cortes de Califomla, (www.sucortem.gov) o ponléndoso en contac!o con la cone o al
coleglo de abogados locales. AVISO.' Por/ey, la corte liens ole/echo a reclamar las cuolas ylos coates exentos porlmponer un gravamen sobre
cue/quiarracuperaaion de 510, 000 o mas de valorreclbida medianle un acuerdo o una concasr'on de arbitraje en un case de dereoho cle/. 'liene que

pagar el gravamen de la carte antes de qua la corte pueda desechar el caso.

 

 

 

 

'l'he name and address of the court isc _ %se Nudrt!a§§: ,_
(El nombre y direcor'on de la oorte os): Superlor Court of Orange County l ’""°30£815_00810554_[:|_ N P CJC
700 Civic Center Drlvc West ___ _

Santa Ana, Ca 92701
'l`he name, address, and telephone number of plalntlffs attomey, or plaintiff Without an attorney, ls:
(El nombra, la direccion y el numero de teléfono del abogado del demandante, o del damandante que no done abogado, es):

'I`odd M. Fricdman, 324 S. Beverly Dr., #725, Beverly Hllls, CA 90212, 877-206-4741

mm 53 Smm , Deputy

 

 

 

 

 

 

 

 

 

cATE: 09r21r2015 aLAN contsou. clerk anne court Clerl<. by
(Fechz,, - (Sa_cr_el_a£'o) (Adjunto)
(Forproof of service of this summons, use Proof of Service of Summons (form POS~O10).) mfg 9mm
(Para prueba de entrega de csra citation use el formulario Proof ct Servlce of Summons. (POS-O'lO)).
NOTlCE TO THE PERSON SERVED: You are served
lsE"q t. [:] as an individual defendant
_ . 2. :] as the person sued under the fictitious name of (specr'fy):
3, l:l on behalf of (specify):
under: l:_:l ccP 416.10 (oorporarion) [:] ccP 416.60 (mrnor)
l::} CCP 416.20 (detunct corporation) [:] CCP 416.70 (conservatee)
|:| CCP 416.40 (association or partnershlp) ij CCP 416.90 (authorized person)
[:_'] other (spocify).'
4. l:_'_`l by personal delivery on {date):
Fag 1 of 1
F¢rm »\dopt»d car cemetery use SuMMONS cwa arcrvu From¢um §§ 412.20. 4es
wmcoum'nfo.ca.aov

Judlolal Council ot Califomla

suu~roo ram Jury 1, 20le mcide unamd' m
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